Case 8:16-cv-00178-EAK-AAS Document 15 Filed 08/26/16 Page 1 of 1 PageID 64



                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

CAROLYN HENRY,

   Plaintiff,

-vs-                                          CASE NO.: 8:16-CV-00178-EAK-EAJ

CREDIT PROTECTION ASSOCIATION, L.P.

   Defendant.
                                   /


                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


        COMES NOW the Plaintiff, Carolyn Henry, and the Defendant, Credit Protection

Association, L.P., and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to

dismiss, with prejudice, each claim and count therein asserted by Plaintiff against the

Defendant in the above styled action, with Plaintiff and Defendant to bear their own

attorney’s fees, costs and expenses.

        Respectfully submitted this 26th day of August, 2016.

/s/Frank H. Kerney, III                       /s/Ruel W. Smith
Frank H. Kerney, III, Esquire                 Ruel W. Smith, Esquire
Morgan & Morgan, Tampa, P.A.                  Hinshaw & Culbertson, LLP
One Tampa City Center                         100 South Ashley Drive, Suite 500
Tampa, FL 33602                               Tampa, FL 33602-5301
Tele: (813) 223-5505                          Tele: (813) 868-8831
Fax: (813) 223-5402                           Fax: (813) 276-1956
fkerney@forthepeople.com                      RSmith@hinshawlaw.com;
jkneeland@forthepeople.com                    ZHickman@hinshawlaw.com
Florida Bar#: 88672                           Florida Bar#: 36548
Attorney for Plaintiff                        Attorney for Defendant
